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                                     WESTERN DIVISION
   17

   18
        PAUL SNITKO, JENNIFER                   Case No. 2:21-cv-04405-RGK-MAR
        SNITKO, JOSEPH RUIZ, TYLER
   19
        GOTHIER, JENI VERDON-
        PEARSONS, MICHAEL STORC,
   20
        and TRAVIS MAY,
                                                PLAINTIFFS’ OPENING BRIEF
   21
                             Plaintiffs,        PURSUANT TO COURT’S ORDER
                                                OF NOVEMBER 12, 2021
   22
                    v.

   23
        UNITED STATES OF AMERICA,
        TRACY L. WILKISON, in her
   24
        official capacity as Acting United
        States Attorney for the Central
   25
        District of California, and KRISTI     Judge: Hon. R. Gary Klausner
        KOONS JOHNSON, in her official         Trial: August 23, 2022
   26
        capacity as an Assistant Director of   Complaint Filed: May 27, 2021
        the Federal Bureau of Investigation,   Amended Complaint Filed: June 9, 2021
   27
                            Defendants.
   28

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     1   I.    INTRODUCTION
     2        On March 22, 2021, the government indiscriminately seized the contents of
     3   hundreds of safe-deposit boxes based on allegations that the company offering the
     4   boxes—US Private Vaults, Inc., or USPV—had engaged in wrongdoing. Now, as a
     5   result, the government retains the sensitive personal information of hundreds of box
     6   renters. The government will retain that information indefinitely for agents to
     7   access for investigative purposes.
     8        The government has callously disregarded the Fourth Amendment rights of
     9   Plaintiffs and the broader class. It deliberately misled Magistrate Judge Kim in its
    10   warrant application by
    11                                                                                The
    12   government promised its search would “extend no further than necessary to
    13   determine ownership,” Ex. F at 502:26-28 n.40, 1 but it rummaged through class
    14   members’ boxes even after finding letters identifying them. And the government
    15   ignored the warrant’s express statement that it did “not authorize a criminal search
    16   or seizure of the contents of the safety deposit boxes.” Ex. E at 289. It told agents
    17   that “[a]nything which suggests the cash may be criminal proceeds should be noted
    18   and communicated to the Admin team.” Ex. D. at 284. It arranged to have drug
    19   dogs on site to sniff currency. Id. And it collected that evidence while seizing every
    20   single box renter’s property as part of its
    21

    22        Indeed, the evidence shows that the search—while justified as an inventory—
    23   was not conducted as an inventory at all. Agents took detailed notes of facts (such
    24   as how cash was packaged, or its smell) with no valid inventory purpose, but made
    25   only cursory notes of the amount or type of property in the boxes. The resulting
    26   records are practically worthless as inventories, but invaluable as investigative
    27
               1
    28         Citations to “Ex.” refer to exhibits to the Declaration of Robert Frommer filed
         contemporaneously with this brief.
                                                       1
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     1   tools. In other words, the “inventory” was a sham. Indeed, the whole idea of
     2   inventorying the vault was unreasonable on its face, as the best way to serve the
     3   purposes of an inventory would have been to leave the property safely locked away
     4   and appoint a receiver to wind down USPV’s business without invasion of privacy.
     5         Because the search violated the Fourth Amendment, Plaintiffs are entitled to
     6   have the government “sequester and return,” or otherwise destroy, records
     7   containing personal information about class members and their property that it
     8   possesses as a result of its search. ECF 75 at 6 (order on MTD). The Court should
     9   enter judgment ordering the government to do exactly that.
    10   II.    FACTS
    11          A.    The Government’s Investigation of US Private Vaults.
    12          The government began its investigation of US Private Vaults, the company, in
    13   2019, after “almost five years of—of going after individual customers.” Ex. K at
    14   875:3-12. Those earlier investigations of USPV customers had
    15                                Ex. M at 1221:13-19. The government shifted its focus
    16   to the business itself after deciding that its initial approach of investigating box
    17   holders was not “effective.” Ex. K at 875:12;                      .
    18          Even after the government shifted focus to the business, the government
    19   remained interested in box holders. As one agent agreed,
    20

    21                                                                               Ex. L at
    22   1122:18-23. The lead agent on the case “anticipated that there would be criminal
    23   proceeds in the safe deposit boxes.” Ex. K at 890:3-7. Although the actual
    24   investigation of the business was                                           , see Ex.
    25   L at 1121:14-19,
    26

    27

    28                                       Ex. L at 1116:4-16.
                                                   2
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     1         B.      The Pre-Seizure Forfeiture Determination.
     2         During the summer of 2020—months before the warrant application was
     3   submitted—
     4

     5

     6                                                   Ex. O at 1525:15-1526:5; see also id.
     7   at 1527:10-18.
     8                                                                  Id. at 1526:23-1527:3.
     9         During that same timeframe,                                                 the
    10   government also made plans to apply for a warrant to seize the relatively worthless
    11   nest of safe-deposit boxes—i.e., the superstructure that held box renters’ property.
    12                          ; see also Ex. K at 985:9-16. The FBI’s own Domestic
    13   Investigations and Operations Guide mandates that agents employ the least intrusive
    14   technique that would let them fulfill their investigative purpose. Ex. K at 868:7-14.2
    15   And, in this case, a less intrusive option was available: The government could have
    16   seized the entire business of USPV, sought the appointment of a receiver to wind
    17   down its operations, and returned property without any need to search the boxes.
    18   However, the government failed to consider this or any other less-intrusive option.
    19

    20                                  ; Ex. K at 899:9-13;                       This, in the
    21   words of one agent, was
    22                                  . Ex. L at 1135:10-19
    23              id. at 1135:22-25
    24         Once the affidavit to support the application for a seizure warrant was drafted,
    25   Murray, the head of the forfeiture unit,
    26

    27
               2
    28           See FBI, Domestic Investigations and Operations Guide § 4.1.1(e) (2013),
         available at https://perma.cc/RWD8-XHDC.
                                                    3
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    1

    2                                Ex. O at 1534:25-1535:12; see also id. at 1533:8-14, id.
    3   at 1534:21-24.
    4                                                             Id. at 1537:14-16.
    5         In other words, as Murray explained, by the time the search occurred,
    6

    7

    8

    9                                                              Id. at 1562:1-17 (emphasis
   10   added); see also id. at 1560:2-15, id. at 1563:16-21, id. at 1564:4-7.
   11

   12                                                                 Id. at 1494:3-1495:7.
   13

   14                                                        , even though it had no idea who
   15   those box renters were or what, if anything, they may have done.
   16         C.     The Government Fails To Share Its Plan With Magistrate Kim.
   17         Months later, in early 2021, the government applied for the seizure warrant.
   18   The affidavit in support was drafted by the lead FBI case agent, Lynne Zellhart, and
   19   by AUSA Andrew Brown. Ex. K at 884:14-23. That affidavit alleged acts of
   20   wrongdoing by USPV and its principals, but it made no such allegations against the
   21   customers. Nor did the warrant application or the affidavit in support ever hint at
   22

   23         Instead, AUSA Brown wrote in the affidavit that the government merely
   24   intended to conduct an inventory of box renters’ property. See Ex. K at 884:14-23.
   25   The supporting affidavit asserted that “[t]he warrants authorize the seizure of the
   26   nests of the boxes themselves, not their contents.” Ex. F at 501:15-16. It stated that
   27   agents would “follow their written inventory policies to protect their agencies from
   28   claims of theft or damage to the contents of the boxes, and to ensure that no hazardous
                                                  4
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    1   items are unknowingly stored in a dangerous manner.” Id. at 501:19-22. It also
    2   claimed that agents would try to “notify the lawful owners of the property stored in
    3   the boxes [about] how to claim their property,” id. at 501:22-24, and that, pursuant to
    4   FBI policy, the “inspection” of the boxes “should extend no further than necessary to
    5   determine ownership.” Id. at 502:26-28 n.40.
    6         In line with those representations, the seizure warrant signed by Judge Kim
    7   stated that it “does not authorize a criminal search or seizure of the contents of the
    8   safety deposit boxes.” Ex. E at 289. It instructed agents to “follow their written
    9   inventory policies to protect their agencies and the contents of the boxes,” and it
   10   clarified that agents could “inspect the contents of the boxes,” not to search for
   11   potential violations of law, but simply to “identify their owners in order to notify
   12   them so that they can claim their property.” Id.
   13                                                                                       , but
   14   Magistrate Kim was unaware of that fact, as the government did not disclose it.
   15         Notably,                                   The FBI’s Domestic Investigative and
   16   Operations Guide states that, if “there is probable cause to believe an inventory search
   17   would also yield items of evidence or contraband, agents” should seek a warrant
   18   allowing them to conduct a criminal search. Ex. G at 527. The government, however,
   19

   20

   21         D.     The Government Prepares To Strike.
   22         The government’s plan in place, it started taking steps to execute the warrant.
   23   The government’s lead case agent, Lynne Zellhart, created “Supplemental
   24   Instructions on Box Inventory” that the government used to guide agents’ behavior
   25   in executing the warrant. Ex. K at 919:11-12; Ex. M at 1215:3-9
   26                                                              . Zellhart failed to even look
   27   at the DIOG while drafting these Instructions. Ex. K at 847:13-17;
   28      . In addition, while Zellhart has helped to execute “[l]ots of dozens” of criminal
                                                   5
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  1   search warrants, Ex. K at 822:23-823:2, she could not recall ever having conducted
  2   an inventory search apart from the search at USPV, id. at 827:17-19.
  3         The Supplemental Instructions instructed the agents to look for information
  4   that would be relevant to forfeiture proceedings. The instructions stated that “[a]gents
  5   anticipate USPV boxes to contain a large amount of US Currency” and instructed
  6   that “[a]nything which suggests the cash may be criminal proceeds should be noted
  7   and communicated to the Admin team.” Ex. D. at 284. In particular, the Instructions
  8   told agents to note “how the cash is bundled (rubber bands, bank bands); if it has a
  9   strong odor (marijuana, soil, gasoline, coffee, chemical, etc.).” Id.; see also
 10               . Zellhart agreed that the Instructions told agents to note these odors
 11   because they are “potentially indicative of that money being in the proximity of
 12   drugs.” Ex. K at 962:12-16. The Supplemental Instructions also instructed that cash
 13   over $5,000 should be sniffed by a “canine unit,” Ex. D at 284, and the government
 14   arranged with multiple local police departments to ensure that canine units would in
 15   fact be available for the search. Ex. K at 924:7-20;                     .3
 16         The government admitted it wanted to collect this information for potential use
 17   in civil forfeiture proceedings, noting that once currency left the facility, the cash
 18   would be deposited and the government’s ability to collect this evidence would
 19   disappear. Ex. K at 1218:12-16; see also
 20

 21                                                                                      . The
 22   head of the forfeiture unit explained that, while the government
 23

 24                                                                                          .
 25   Ex. O at 1554:4-11, 1556:13-16, 1557:21-23.
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  1         In contrast to these detailed instructions for gathering evidence to support
  2   forfeiture, the “Supplemental Instructions on Box Inventory” offered only cursory
  3   guidance as to how to conduct an inventory. The Instructions stated that agents, while
  4   “taking care to preserve possible fingerprint evidence,” should “identify the contents
  5   of each box, creating an inventory list,” and that “[a] copy of the paperwork will go
  6   to Asset Forfeiture.” Ex. D. at 283. But the Instructions offered almost no guidance
  7   as to how agents should go about “creating an inventory list.” Id.; see also
  8              After the fact, in a subsequent deposition, the lead case agent stated that
  9

 10   Ex. M at 1251:16-25.
 11                                                   Id. at 1249:24-1250:9.
 12         The government also specially created another form, “Agent Observations and
 13   Notes,” for use in executing the search. See Ex. Q at 1627. This form included space
 14   for “Cash Observations,” where “[a]gents should note things such as how the cash is
 15   bundled,” “if it has a strong odor,” or “if there appears to be drug residue.” Id. The
 16   form also included space for agents to note a drug dog alert. Id. Such information
 17   does not help identify the owner or forestall claims of theft and loss,
 18                                         Instead, as the head of the forfeiture unit agreed,
 19

 20   Ex. O at 1557:16-23. By contrast, the form had no place to record information that
 21   would actually be useful to defend against claims of theft and loss.
 22         E.     The Government’s “Inventory” Search.
 23         On March 22, 2021, the government executed the US Private Vaults seizure
 24   warrant. In doing so, the government removed the door from every single safe-
 25   deposit box in the USPV facility and then scoured the contents of the boxes.
 26         In many cases, box holders had taped an executor letter—a document
 27   identifying both the box renter and his or her beneficiary—to the outside of the box’s
 28   interior sleeve. Ex. J at 695:15-18, 697:1-4. The government knew these letters
                                                 7
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  1   existed even before the search. Ex. K at 950:5-9. However, even though both internal
  2   FBI policies and the government’s warrant application state that agents’ “inspection
  3   should extend no further than necessary to determine ownership,” Ex. F 502:26-28
  4   n.40, agents continued the search even after encountering these letters. Ex. J at 701:2-
  5   7; see also, e.g., Ex. A at 44, 145, 177, 224, 247. Video-recordings confirm that agents
  6   would even open and examine the contents of boxes before bothering to examine the
  7   affixed executor letter. E.g., Ex. B.5 at 0:30, 3:30-4:00; Ex. B.7 at 0:20, 1:00-1:25.
  8         Once inside that interior sleeve, agents searched through—and made
  9   photographic records of—personal documents or other possessions contained within
 10   the boxes. As examples, the FBI’s inventory record contains photographs of password
 11   lists for online accounts, Ex. A at 176, 178, 223, 227; what appear to be hand-written
 12   notes of financial transactions, id. at 17, 18, 140, 144, 215, 217; debit cards and
 13   checks, id. at 170, 172, 173; vaccination records, id. at 220; a prenuptial agreement,
 14   id. at 171; a will, id. at 175; a letter to a judge in a family-law case, id. at 239; a
 15   receipt for goods deposited with a pawn shop, id. at 137-139; a commercial real estate
 16   agreement, id. at 174; a personal note concerning the establishment of a financial
 17   trust, id. at 141; trust documents, photographed alongside a receipt from a coin
 18   exchange, id. at 206; and a newspaper clipping about a criminal case, photographed
 19   alongside a personal note, id. at 143. The inventory record for one box alone contains
 20   dozens of close-up photographs of intimate, personal documents, including receipts
 21   and personal ledgers containing handwritten notes, pay stubs, immigration
 22   paperwork, a marriage license, and bank statements. Id. at 48-130. In another box,
 23   agents encountered an executor letter affixed to the outside, see id. at 7-8, but pressed
 24   on to open a sack containing a person’s cremated remains, see id. at 9-10. In another
 25   box, agents photographed a “Receipt of Cremated Remains.” Id. at 221.
 26         Video records of the searches show this intrusive foray into box holders’
 27   personal lives. In one video, an agent holds each document in a large stack up to the
 28   camera one-by-one, flipping upside-down documents over so that the camera would
                                                 8
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  1   capture the text. See Ex. B.2 at 5:55-9:15. In another, an agent holds up to the camera
  2   each card in a stack of debit or credit cards, flipping some over so that the camera
  3   can capture both sides. See Ex. B.8 at 15:15-16:50. In another, the agent captures
  4   video recordings of password lists. Ex. B.8 at 11:15, 12:30, 12:50. In one video, the
  5   inventorying agent can be seen studying a document found inside a box before
  6   holding it up for the camera. See Ex. B.3 at 1:43-1:55. In other instances, agents rifled
  7   through and emptied the contents of wallets found inside the boxes. See Ex. B.4 at
  8   14:00-14:45; Ex. B.8 at 3:00-3:40.
  9         As instructed, agents also documented the condition of cash. Agents took notes
 10   on the cash on the “Observations and Notes” form. See, e.g., Ex. A at 11 (“$20 bills
 11   bound by rubber bands, partitioned in $2000 bundles”), at 15 (“Assorted
 12   denomination held in bundles and wrapped in paper, with rubber bands”), at 25
 13   (“sealed in bank pouches”), at 29 (“[p]laced in different envelopes, broken down by
 14   ~1000, sticky notes w/amounts”). Agents also took photographs to document the
 15   condition of the cash; in several instances, for example, agents took photographs of
 16   hand-written notes containing apparent financial information that were found
 17   alongside cash. See id. at 58, 60, 199, 200, 201, 215, 216. Agents also ran the cash
 18   by drug dogs, see Ex. J at 683:21-684:12, made note of positive alerts on the
 19   Observations and Notes, see, e.g., Ex. A at 11, 15, 19, 25, 29, and affixed affidavits
 20   from drug-dog handlers to the inventory documents, see id. at 12-13, 20-22, 26, 30-
 21   31.
 22         In contrast with the above, the inventory records do not provide anything even
 23   approaching a complete inventory of the property. Rather than documenting details
 24   that might be helpful to guard against claims of theft and loss—like the quantity of
 25   an item or a specific description—agents used terms like “miscellaneous coins” and
 26   “miscellaneous jewelry.” E.g., Ex. A at 131-133 (“Miscellaneous coins” and
 27   “Miscellaneous jewelry,); id. at 134-136 (“Miscellaneous jewelry” and
 28   “Miscellaneous coins”); id. at 177 (“assorted jewelry and packaging” and
                                                 9
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  1   “miscellaneous cash and coin”); id. at 228 (“misc jewelry and metal bars/coin”). Even
  2   less helpfully, some inventories refer only to “miscellaneous items.” E.g., id. at 44
  3   (“Miscellaneous general items”), 6 (“miscellaneous itmes [sic]”).
  4         Similarly, when agents photographed valuable property in the box, they often
  5   photographed it in a way that makes it impossible to tell the amount of the property
  6   from the photograph. E.g., id. at 179, 184 (inventory lists “uncounted gold coins” and
  7   photograph depicts a jumble of coins); id. at 32-39 (inventory lists “white metal
  8   coins” and photograph shows a jumble of coins); id. at 153-164 (inventory lists
  9   “[y]ellow metal coins and silver-colored metal coins-uncounted” and photograph
 10   shows stacks of indeterminate height); id. at 185-192 (inventory lists “Jewelry” and
 11   photograph shows pile of bags); id. at 193-197 (inventory lists “Gold Color metal
 12   plates and coins” and photograph shows stack of plates of indeterminate number); id.
 13   at 207-212 (inventory lists “precious metals” and photograph shows stack of bars,
 14   where only top of stack is visible); id. at 229-237 (inventory lists coins and jewelry,
 15   but no such items are photographed).
 16         Ultimately, it appears the FBI did not even try to generate a meaningful
 17   inventory of the contents of the boxes. See Ex. M at 1249:24-1250:9
 18

 19                   Rather, the FBI relied on the integrity of its chain-of-custody
 20   procedures—not the inventory—to protect against claims of theft and loss. See, e.g.,
 21   Ex. K at 861:17-862:11; Ex. J at 623:4-23.
 22         F.     Forfeiture Proceedings, Investigation, And Property Return.
 23

 24

 25

 26                                                                                    Ex. O
 27   at 1562:1-17; see also id. at 1563:22-1564:7.
 28                          largely frustrated, however, after a series of legal setbacks,
                                                10
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  1   including this Court’s ruling that the government’s administrative forfeiture notices
  2   did not satisfy due process. See ECF 52; ECF 58; ECF 60. 4
  3         The government thus began a process of determining which of the boxes
  4   should be subjected to additional judicial forfeiture proceedings, and, in doing so,
  5   made use of information gathered during the “inventory.”
  6

  7

  8                                                              Where box holders came
  9   forward and provided their identities, the FBI also used that information to conduct
 10   additional investigation, including by running those individuals through government
 11   databases. Ex. K at 980:7-20. However, the investigation was ultimately driven by
 12   the information gleaned from the “inventory”; as the lead case agent testified, “if I’m
 13   looking at a pile of cash … I’m interested in where did that cash come from,” so “it
 14   had less to do with the person than with the contents of the box.” Id. at 981:19-23;
 15   see also
 16         The experience of one named Plaintiff, Joseph Ruiz, shows how information
 17   from the “inventory” factored into the forfeiture determination. After this Court
 18   ordered the government to show cause why it should not be forced to return the cash
 19   seized from Joseph’s box, see ECF 60, the government filed an affidavit from the
 20   lead case agent asserting the government’s belief that it had probable cause based on
 21   a positive drug-dog sniff (obtained during the inventory) and based on the results of
 22   a Google search of Joseph’s email address, which the government learned from
 23   paperwork in the box, see ECF 64-1. The government only agreed to return Joseph’s
 24

 25         4
              USPV, the business, also filed a claim to all the box contents in its capacity
 26   as a bailee, which should have had the effect of terminating all administrative
      forfeiture proceedings. However, it appears the government forced USPV to
 27   withdraw that claim as a condition of its plea agreement—a dubious tactic that
      essentially used USPV’s legal exposure to force USPV to compromise its duties to
 28   its customers. See United States v. U.S. Private Vaults, Inc., No. 2:21-cr-00106-MCS,
      ECF No. 85, at 4-5 (Mar. 3, 2022) (plea agreement).
                                                11
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  1   property after he filed a declaration with supporting exhibits proving an innocent
  2   source for the property. See ECF 65-1; ECF 65-2; ECF 65-3.
  3         G.     The Instant Litigation.
  4         In this case, the Court has certified a class consisting of all USPV box renters
  5   who have identified themselves to the government and had their property returned.
  6   See ECF 78. This class consists of hundreds of individuals. See id. at 7.
  7         Named Plaintiffs are members of the certified class. As with the broader class,
  8   the government’s inventory records include (among other things) photographs of
  9   their property, see Ex. A at 32-43, 145-152, 240-246, 247-256, videos of the search
 10   of their property, see id. at 202, 5 and records of drug-dog sniffs conducted on their
 11   property, see id. at 148-149, 250, 254-256. The retention of this information is an
 12   invasion of their privacy rights and causes them anxiety and stress. See P. Snitko
 13   Decl. ¶¶ 19-20; J. Snitko Decl. ¶¶ 18-19; Ruiz Decl. ¶¶ 21-22, Gothier Decl. ¶¶ 12-
 14   13; May Decl. ¶¶ 20-21; Pearsons Decl. ¶¶ 21-23; Storc. Decl. ¶¶ 20-21.
 15         As a remedy for the violation of their Fourth Amendment rights, named
 16   plaintiffs and the class seek an order requiring the destruction or segregation of
 17   records generated during—or as a result of—the government’s unconstitutional
 18   actions. ECF 33 ¶ I. 6 The government will retain such information indefinitely in the
 19   FBI’s files, including a database called Sentinel, see Ex. J at 715:3-21;
 20         5
               The inventory of Plaintiff Tyler Gothier’s box was videotaped, see Ex. A at
 21   202, but, despite representations that videos would be timely produced, see e.g., ECF
      101 at ¶ 12, the government failed to produce that video in time for it to be included
 22   in the record for this case, see ECF 109 ¶ 13. The same is true of numerous other
      videos. See id. The appropriate remedy for the government’s discovery violation is
 23   an adverse inference that these videos would have shown additional violations of
      class members’ privacy rights. See Residential Funding Corp. v. DeGeorge Fin.
 24   Corp., 306 F.3d 99 (2d Cir. 2002) (holding that “purposeful sluggishness” resulting
      in failure to produce discovery materials could support adverse inference
 25   instruction); see also ECF 99 (questioning why Defendants brought discovery “to a
      screeching halt”).
 26
             6
               This includes the government inventory records, and it also includes
      information that was submitted to the government in subsequent proceedings that
 27   only occurred because of the Fourth Amendment violation. Named Plaintiffs Jeni
      Pearsons and Michael Storc, for instance, submitted additional documentary
 28   evidence along with the claim that they submitted to terminate the government’s
      administrative forfeiture proceedings. See Pearsons Decl. ¶ 11; Storc Decl. ¶ 10.
                                               12
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  1                    —a computerized system that “provides capabilities for search and
  2   intelligence analysis” and that “can be used to identify connections between cases
  3   and patterns of activity.” FBI, Privacy Impact Assessment for the SENTINEL System
  4   (2014), https://perma.cc/8D9W-YFC5. Unless instructed otherwise, government
  5   officials will be able to access those files for investigative purposes. Id.; see also
  6

  7   III.   LEGAL STANDARD
  8          In the current procedural posture of this case, the Court should apply the
  9   standard for motions for summary judgment—meaning that the Court must
 10   determine whether the undisputed facts are sufficient to establish a constitutional
 11   violation. See, e.g., Bernhard v. City of Ontario, 270 F. App’x 518, 519 (9th Cir.
 12   2008). If there are disputed issues of material fact, the Court should set the case for
 13   trial with live testimony. See Fed. R. Civ. P. 43(a). Plaintiffs believe, however, that
 14   the facts showing Plaintiffs’ entitlement to relief should be undisputed, such that the
 15   case can properly be resolved under the summary judgment standard. 7
 16   IV.    ARGUMENT
 17          Section A explains that the government’s behavior towards Plaintiffs and the
 18   broader class deliberately violated their Fourth Amendment rights. Section B then
 19   addresses the issue of remedy and explains that this Court is authorized to order the
 20   segregation or destruction of records containing class members’ private personal
 21   information due to these shocking Fourth Amendment violations.
 22          A.    THE GOVERNMENT FLAGRANTLY VIOLATED THE
 23                FOURTH AMENDMENT.
 24          The government’s behavior before, during, and after execution of the USPV
 25   seizure warrant has been an affront to both Plaintiffs and the broader class. It also
 26          7
              Plaintiffs note that the Court’s scheduling order directed the parties to file a
 27   “Joint Separate Statement of Undisputed and Disputed Facts” on the date that
      opposition briefs are due. ECF 82 at 6. Plaintiffs understand this direction to
 28   supersede the separate statement requirement of L.R. 56-1.
                                                 13
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  1   violated the Fourth Amendment. The government misled the Court
  2                     when applying for the seizure warrant, intentionally disregarded the
  3   warrant’s substantive limitations, and conducted a pretextual sham “inventory” while
  4   searching for evidence of criminality. The government’s entire scheme was
  5   unreasonable, given that it had no need to “inventory” a locked safe-deposit vault
  6   and, instead, could have appointed a receiver to wind down USPV’s operations.
  7                1.    The Government Misled The Magistrate And Disregarded The
  8                      Express Limits Of The Warrant.
  9         Officials owe courts a duty of candor in seeking a warrant. They must present
 10   facts truthfully, and not fail to disclose material facts. See, e.g., United States v.
 11   Stanert, 762 F.2d 775, 781 (9th Cir. 1985). Then, once a warrant is issued, officials
 12   also must comply with any limitations imposed by the warrant. United States v.
 13   Tamura, 694 F.2d 591, 595 (9th Cir. 1982).
 14         The government’s conduct failed on both counts. As described supra pp. 3-4,
 15

 16                                                                                 Ex. O at
 17   1562:1-17. Yet the government failed to disclose that fact and, instead, suggested that
 18   the purpose of its search was merely to conduct an “inventory.” Then, when Judge
 19   Kim issued a warrant directing that officials should not conduct “a criminal search or
 20   seizure of the contents of the safety deposit boxes,” Ex. E at 289, the government
 21   proceeded to scour the contents of each box for evidence to
 22          See supra p. 7-10. Indeed, the plans for the search gave agents detailed
 23   instructions on how to collect evidence that might show an unlawful source for seized
 24   cash, see Ex. D at 284, and the government also went so far as to bring in drug dogs
 25   from across Southern California for the search, see Ex. K at 924:7-20.
 26         This was a “criminal search,” in violation of the warrant, and it was also a
 27   “criminal seizure.” After all, when the government executed the warrant, it
 28
                                                14
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  1                                                                     Given that “suits for
  2   penalties and forfeitures” fall “within the reason of criminal proceedings for all the
  3   purposes of the fourth amendment,” United States v. Zucker, 161 U.S. 475, 479
  4   (1896), seizure                                                                  plainly
  5   constituted the type of “criminal seizure” prohibited by the warrant. Indeed, it is hard
  6   to imagine what other type of “criminal seizure” the warrant might forbid.
  7         All of this is strikingly analogous to an en banc Ninth Circuit case, United
  8   States v. Comprehensive Drug Testing, Inc., 621 F.3d 1162 (9th Cir. 2010), overruled
  9   in part on other grounds as recognized by Demaree v. Pederson, 887 F.3d 870, 876
 10   (9th Cir. 2018) (hereinafter, “CDT”). There, the government applied for a search
 11   warrant in an investigation into steroid use by baseball players but, in doing so, failed
 12   to disclose certain facts in order to create the false impression that “unless the data
 13   were seized at once, it would be lost.” Id. at 1178 (Kozinski, J., concurring).
 14   Unsurprisingly, the warrant issued, but it also specified procedures to be followed
 15   during the search to avoid unnecessary exposure of data beyond the ten players who
 16   were the investigative focus. Id. at 1171 (majority op.). The government disregarded
 17   those limits and seized records for hundreds of players on the ground that they were
 18   in “plain view.” Id. Indeed, the Ninth Circuit observed that the “agents obviously
 19   were counting on the search to bring constitutionally protected data into the plain
 20   view of the investigating agents.” Id. This violated the Fourth Amendment, as “an
 21   obvious case of deliberate overreaching by the government in an effort to seize data
 22   as to which it lacked probable cause.” Id. at 1172.
 23         This case is also analogous to United States v. Rettig, 589 F.2d 418 (9th Cir.
 24   1978) (Kennedy, J.). In Rettig, after officials unsuccessfully applied for a federal
 25   warrant to search a home for evidence of cocaine trafficking, the officials asked a
 26   different court for a warrant to investigate a separate charge of marijuana possession.
 27   Id. at 420. Yet when agents executed the warrant, their focus remained on the initial
 28   cocaine charge. Id. at 421. The Ninth Circuit held this to be unreasonable, stating that
                                                 15
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  1   in “determining whether or not a search is confined to its lawful scope, it is proper to
  2   consider both the purpose disclosed in the application for a warrant’s issuance and
  3   the manner of its execution.” Id. at 423 (cleaned up). The Court criticized the failure
  4   “to disclose an intent to conduct a search the purposes and dimensions of which are
  5   beyond that set forth in the affidavits,” as it made it impossible for the court to
  6   “perform the function of issuing a warrant particularly describing the places to be
  7   searched and the things to be seized.” Id. Moreover, because the agents did not
  8   truthfully disclose their intentions, they failed to “confine their search in good faith
  9   to the objects of the warrant” and instead “substantially exceeded any reasonable
 10   interpretation of its provisions.” Id. So too here.
 11                2.   The Government’s Inventory Was A Sham And A Pretext.
 12         The government sought to justify its foray into the class members’ private safe-
 13   deposit boxes as an “inventory,” but inventory searches “are consistent with the
 14   Fourth Amendment only if they are not used as an excuse to rummage for evidence.”
 15   United States v. Garay, 938 F.3d 1108, 1111 (9th Cir. 2019), cert. denied, 140 S. Ct.
 16   976 (2020). The facts of this case show that the government designed its search to
 17   engage in just such impermissible rummaging here.
 18         The scope of an inventory search must be “limited in scope to that which is
 19   justified by the particular purposes” served by the inventory. Florida v. Royer, 460
 20   U.S. 491, 500 (1983). In other words, the “purpose of such a search must be unrelated
 21   to criminal investigation.” United States v. Johnson, 889 F.3d 1120, 1128 (9th Cir.
 22   2018). To ensure that non-investigatory purpose, all “[i]nventory searches must be
 23   conducted according to standard agency procedures,” United States v. Mancera-
 24   Londono, 912 F.2d 373, 375 (9th Cir. 1990), and any discretion exercised by officials
 25   must be exercised “according to standard criteria and on the basis of something other
 26   than suspicion of evidence of criminal activity.” Id. (quoting Colorado v. Bertine, 479
 27   U.S. 367, 375 (1987)). Inventory searches not carried out according to those criteria
 28
                                                 16
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  1   are unconstitutional. See Florida v. Wells, 495 U.S. 1, 4 (1990); United States v.
  2   Wanless, 882 F.2d 1459, 1463 (9th Cir. 1989).
  3         The government’s instructions to agents conducting the search demonstrate
  4   that this was planned, from the start, as a search for evidence of wrongdoing. The
  5   instruction to agents specifically directed that “[a]nything which suggests the cash
  6   may be criminal proceeds should be noted and communicated to the Admin team”
  7   and specifically instructed agents to take notes on facts that courts often view as
  8   indicia of drug trafficking. Ex. D at 284. At the same time, the government
  9   specifically planned to have “canine units on scene,” and the instructions for the
 10   search provided that all cash over $5,000 should be run past the drug dogs. Ex. D at
 11   284. 8 The government also specifically created a form—separate and apart from the
 12   usual inventory forms—to record the results of this criminal search. See Ex. Q. Then,
 13   during the inventory, the agents made records of the contents of a host of personal
 14   documents. See supra pp. 8-9 (citing examples). None of this is consistent with an
 15   inventory search. See United States v. McCarty, 648 F.3d 820, 836 (9th Cir. 2011)
 16   (finding that actions taken with investigatory motive “clearly fell outside the
 17   permissible scope of the lawful administrative search and violated McCarty’s Fourth
 18   Amendment rights”).
 19         Moreover, the government did not just add a criminal search onto its inventory,
 20   but also failed to conduct any meaningful inventory. Agents marked down only the
 21   most basic of information; they failed to count how many items were present, and
 22

 23
            8
              The uniform, pre-meditated nature of these drug-dog sniffs distinguishes this
      case from United States v. Nieto-Rojas, 470 F. App’x 674 (9th Cir. 2012), where the
 24   dog’s presence had been requested for independent reasons and was not a pre-planned
 25   extension of an inventory search. See Commonwealth v. Davis, 481 Mass. 210, 219,
      114 N.E.3d 556, 566 (2019) (holding inventory search invalid after stating that “[t]he
 26   use of a drug detection dog to conduct what is supposedly a search to safeguard
 27   property – and not a search for drugs – raises a red flag”). The use of drug dogs also
      departed from the FBI’s own policies, as the Domestic Investigations and Operations
 28
      Guide does not contemplate using drug dogs for an inventory. See Ex. G at 526-527.
                                               17
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  1   instead would write down vague, useless descriptors like “Miscellaneous general
  2   items.” Ex. A at 44; see also supra pp. 9-10 (citing examples). The photographs that
  3   agents took of property likewise often make it impossible to determine the amount
  4   of property seized. See supra p. 10 (citing examples); see also United States v.
  5   Roberts, 430 F. Supp. 3d 693, 707 (D. Nev. 2019), appeal voluntarily dismissed, No.
  6   20-10026 (9th Cir. Mar. 18, 2020) (failure to properly and completely document
  7   property indicated that inventory search was pretextual). 9 During depositions, when
  8   pressed to explain how exactly the records from the search helped to guard against
  9   claims of theft and loss, the lead case agent pointed to “the integrity of our process,”
 10   including there being “multiple people present,” “signatures,” “countersignatures,”
 11   and “bar codes.” Ex. K at 861:17-862:11; see also Ex. J at 635:3-10. Of course, none
 12   of that has anything to do with the search of class members’ property, which was not,
 13   in point of fact, an inventory search. Instead, the search was a pretext for an
 14   unconstitutional investigation into Plaintiffs and other class members.
 15                3.   There Should Be No Need To Inventory A Locked Vault.
 16         Lastly, the entire premise of the government’s search was objectively
 17   unreasonable and cannot be squared with the premise of an inventory search.
 18   Plaintiffs’ property was not lying about unsecured; it was locked inside a vault. The
 19   entire reason Plaintiffs and the broader class kept their property in that vault was
 20   because it safeguarded their property from the possibility of theft and loss. Therefore,
 21   by seizing the nest and cracking open the boxes inside, agents created the very risk
 22   of theft and loss that their actions were meant to guard against.
 23         As an alternative to seizing the nest, the government could have applied to the
 24   court to appoint a receiver to take possession of the vault, and the receiver could then
 25   have wound down USPV’s business and allowed customers to retrieve their property
 26         9
              This is, perhaps, unsurprising given that the lead case agent could not recall
 27   having ever conducted an inventory search before, see Ex. K at 827:10-19, and one
      of the agents who conducted the inventory could not recall ever receiving any training
 28   on how to conduct an inventory other than a search incident to arrest, see Ex. J at
      583:1-4, 584:14-18.
                                                18
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  1   in an orderly way. See 18 U.S.C. §§ 983(j), 1963(d). In doing so, the government
  2   would have better advanced all the purposes traditionally associated with an
  3   inventory: (1) the protection of the owner’s property; (2) the protection of the police
  4   against claims of lost or stolen property; and (3) the protection of the police from
  5   potential danger. South Dakota v. Opperman, 428 U.S. 364, 369 (1976). After all,
  6   there would have been far less risk of theft or loss if property had been kept locked
  7   in the vault, and, similarly, it is difficult to imagine what realistic “danger” would
  8   have been posed by leaving the property locked away.10 Yet the government failed to
  9   even consider this alternative, even though the FBI’s Domestic Investigations and
 10   Operations Guide tells agents that, when their actions would “intrude on privacy,”
 11   they should employ the least intrusive investigative technique capable of achieving
 12   the government’s objective. Ex. K at 868:6-14, 870:2-871:2.
 13

 14         B.     THE SEGREGATION OR DESTRUCTION OF RECORDS IS
 15                AN APPROPRIATE REMEDY FOR THIS VIOLATION
 16         The government has captured the fruits of its search—the personal information
 17   of Plaintiffs and hundreds of class members—inside its Sentinel database, and that
 18   information will remain in the government’s files unless this Court orders otherwise.
 19   See supra pp. 12-13. This Court can, and should, exercise its inherent “civil equitable
 20   jurisdiction,” CDT, 621 F.3d at 1172, to remedy this violation by directing the
 21   government to “sequester and return” the records, ECF 75 at 6.
 22         Specifically, as set out in the proposed judgment, Plaintiffs propose that the
 23   government be ordered to sequester records obtained as a result of its search so that
 24   they are no longer available for investigative use. While these records are—as
 25   detailed above, supra pp. 9-10—practically useless as inventories, some pictures or
 26   video generated in the search might nevertheless be of some limited use to box
 27

 28
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  1   holders to address claims of theft and loss (claims of theft and loss that, it bears
  2   repeating, would not exist but for the decision to “inventory” the boxes). The records
  3   should remain available only for the limited, constitutionally valid purpose of
  4   responding to such claims. Then, when all such claims have been resolved, the
  5   government should be ordered to return or destroy the records.
  6         There can be no real question that the Court has authority to enter this relief.
  7   See CDT, 621 F.3d at 1172 (citing Ramsden v. United States, 2 F.3d 322, 325 (9th
  8   Cir. 1993)); see also United States v. Gladding, 775 F.3d 1149, 1152 (9th Cir. 2014).
  9   In fact, the Court already decided that such relief is potentially available. The
 10   government previously moved to dismiss on the ground that the Court lacked
 11   authority or jurisdiction to enter the requested relief. ECF 75 at 5-6. The Court
 12   disagreed, noting that, in CDT, the Ninth Circuit had upheld equitable relief ordering
 13   the government to “sequester and return” unlawfully obtained evidence. Id. at 6.
 14   Whether that relief was in fact available would, of course, depend on whether the
 15   evidence bore out Plaintiffs’ Fourth Amendment allegations.
 16         As explained above, the evidence more than bears out Plaintiffs’ allegations,
 17   with the result that the remedy awarded in CDT is equally applicable in this case. As
 18   in this case, the government in CDT made “representation[s] in the warrant …
 19   obviously designed to reassure the issuing magistrate that the government wouldn’t
 20   sweep up large quantities of data in the hope of dredging up information it could not
 21   otherwise lawfully seize.” 621 F.3d at 1172. Also as in this case, the government in
 22   CDT then “failed to follow the warrant’s protocol.” Id. As in this case, the search in
 23   CDT was an “obvious case of deliberate overreaching by the government in an effort
 24   to seize data as to which it lacked probable cause.” Id. Finally, as in this case, the
 25   Fourth Amendment violations exhibit a “callous disregard for the rights of third
 26   parties.” Id. at 1174. Given these violations, the government “must not be allowed to
 27   benefit from its own wrongdoing by retaining the wrongfully obtained evidence or
 28   any fruits thereof.” Id.
                                               20
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  1   Dated: July 19, 2022
                                           Respectfully Submitted,
  2

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